     Case 1:18-cv-00719-CCR           Document 224-1       Filed 08/09/24     Page 1 of 33




                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NEW YORK



BLACK LOVE RESISTS IN THE RUST, et
al., individually and on behalf of a class of
all others similarly situated,

       Plaintiffs
                                                     No. 1:18-cv-00719-CCR
            v.

CITY OF BUFFALO, N.Y., et al.,

       Defendants.



                  SUPPLEMENTAL EXPERT REPORT OF DAVID BJERK, PH.D.

       1.        As noted in my Expert Report dated May 29, 2024, I received citation and stops
data for 2023 only in March 2023. Expert Report ¶ 4 n.1. Due to a number of personal and
professional commitments, this did not allow adequate time for my team to clean this data and for
me to analyze this data for inclusion in my initial report. I reserved the right to supplement my
report with this data. Id.
       2.        This Supplemental Report supplements my original Expert Report with updated
data, which consists of (a) TraCS and Buffalo’s Open Data information on citations data issued in
the City of Buffalo for 2023, and (b) Buffalo’s Open Data for Traffic Stop Receipts (“TSRs”)
through early July 2024.      This supplemental report does not incorporate updated data on
checkpoints, as my understanding is that checkpoints ceased well before 2023, meaning that this
dataset did not need to be updated.
       3.        This data was obtained and cleaned in the manner described in my original Expert
Report, with one exception. The 2023 TSR data that we received via subpoena from Erie County
Central Police Services (“ECCPS”) did not include the field reflecting the recorded ethnicity of
the individual to whom the stop receipt was issued (which indicates whether the individual is
Hispanic, which I consider in determining which individuals are Minority) and did not record the
BPD district in which the stop was issued. Because I used both of these variables in my analysis



                                                 1
     Case 1:18-cv-00719-CCR            Document 224-1          Filed 08/09/24      Page 2 of 33




of the pre-2023 data, I could not simply update my existing analysis of TSRs using the updated
data. To expedite this supplemental analysis, I instead obtained up-to-date BPD data on TSRs
from Buffalo Open Data (https://data.buffalony.gov/Public-Safety/Traffic-Stop-Receipts/8mqs-
6g9h/about_dataup), from which that data is publicly available. An inspection showed that
although the TSR data available from Buffalo Open Data was extremely similar to the ECCPS
data on which I had previously relied, these datasets were not identical. Therefore, for consistency,
this Supplemental Report uses TSR data from Buffalo Open Data for all years, and not simply for
the post-January 1, 2023, period.
       4.      This Supplemental Report incorporates post-January 1, 2023, citation and stops
data by including that data in the “Current Era,” which my original Expert Report defined as the
period beginning in March 2020 and corresponding to the beginning of the COVID-19 pandemic
and the protests and potential changes in policing behavior following the death of George Floyd.
This update consists of 19,193 additional citations observations, of which 18,864 could be mapped
to census tracts, which were generated in about 8,000 additional distinct incidents. It also includes
considerably more TSRs (17,280) than were analyzed in my original Expert Report (10,786).
       5.      To the extent my analyses considered changes between distinct periods of time, I
decided to incorporate post-January 1, 2023, data into the Current Era (previously defined as the
time period beginning in March 2020 and running through the end of the period for which data
was available), rather than treating that data as falling within a newly defined era. I did this because
citation counts in both the first half and second half of 2023 were extremely similar to those in
each six-month period between July 2021 and December 2022 (see Figure 1.1). Moreover, I was
not (and am not) aware of any significant events or publicized policy changes that I would expect
to have affected policing policies or practices in the City of Buffalo between 2022 and 2023.
       6.      This Supplemental Report incorporates all the most recent data to which I have
access. The Supplemental Report consists of updated versions of the tables and figures that I
included in my original Expert Report. Tables and figures that have been amended to include more
recent data since the initial report have a .1 suffix appended to their table or figure number. As
noted, checkpoints data has not (and did not need to be) updated, so this Supplemental Report does
not include updated versions of those tables and figures. This update also does not affect aspects
of my analysis that did not rely on entire-period or Current-Era data (e.g., data about the relative
crime and accident rates in neighborhoods prior to June 2012).



                                                   2
    Case 1:18-cv-00719-CCR           Document 224-1         Filed 08/09/24      Page 3 of 33




       7.      As those tables and figures indicate, the updated data I analyzed is quite similar to
the Current Era data that I analyzed in my original Expert Report. Consequently, incorporating
this updated data did not lead to any qualitatively significant changes to any of my results, and
therefore did not alter any of my conclusions.
       8.      I reserve the right to further supplement my report if I receive new data.


                                             Respectfully submitted this 29th day of July,


                                             ______________________________
                                             David Bjerk, Ph.D




                                                 3
Case 1:18-cv-00719-CCR          Document 224-1     Filed 08/09/24     Page 4 of 33




              UPDATED VERSIONS OF FIGURES AND TABLES USED IN
                             EXPERT REPORT

               Figure 1.1: Total Citations by Six-month period
      35000
                  Strikeforce    BTVA
      30000       created

      25000

      20000

      15000

      10000

       5000

          0
              2012_1
              2012_2
              2013_1
              2013_2
              2014_1
              2014_2
              2015_1
              2015_2
              2016_1
              2016_2
              2017_1
              2017_2
              2018_1
              2018_2
              2019_1
              2019_2
              2020_1
              2020_2
              2021_1
              2021_2
              2022_1
              2022_2
              2023_1
              2023_2
   Table 1.1 - Wilcoxon Rank-Sum Tests of Equality of Distributions Across Eras
                                                            Rank Sum
                                                                    Expected
   Compared Eras                     Obs             Actual         Under Null
   Era 1 - Pre-Strikeforce             6               24              129
   Era 2 - Strikeforce                36              879              774
                                                                    z = -3.774
                                                                  pval < 0.0001

   Era 2 - Strikeforce                  36           803              1224
   Era 3- BTVA                          31           1475             1054
                                                                   z = -5.294
                                                                 pval < 0.0001

   Era 3- BTVA                          31           1221            883.5
   Era 4 - Post-Strikeforce             25           375             712.5
                                                                   z = 5.563
                                                                 pval < 0.0001

   Era 4 - Post-Strikeforce             25           1456             900
   Era 5 - Current                      46           1100            1656
                                                                   z = 6.694
                                                                 pval < 0.0001




                                         4
 Case 1:18-cv-00719-CCR          Document 224-1       Filed 08/09/24     Page 5 of 33




Table 2.1 - Randomized Wilcoxon Rank-Sum Tests Within Eras (10 trials per era)
                                             P-values on Null Hypothesis:
Era                                < 0.01       0.01 - 0.05       0.05 - 0.10    > 0.10
Era 1 - Pre-Strikeforce               0              0                 0           10
Era 2 - Strikeforce                   0              1                 1            8
Era 3 - BTVA                          0              0                 0           10
Era 4 - Post-Strikeforce              0              1                 1            8
Era 5 - Current                       0              0                 1            9
*Each trial randomly divides months in each era into two distinct samples. P-values
reveal the likelihood these samples come from the same underlying data generating
process.




                                           5
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 6 of 33




                                 6
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 7 of 33




                                 7
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 8 of 33




                                 8
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 9 of 33




                                 9
  Case 1:18-cv-00719-CCR             Document 224-1          Filed 08/09/24       Page 10 of 33




Table 4.1: Mean Monthly Citations per Tract (Pre-Strikeforce Highest Violent Crime Tracts Only)
                                         Tract Type
              Era              High-Minority Low-Minority Difference          t-stat      p-val
All Citations
               Pre-Strikeforce      17.9            26.9          -9.0         -1.91      0.07
                                    (2.7)          (3.87)        (4.72)
                   Strikeforce      77.8            39.2          38.5         2.31       0.03
                                  (15.62)          (5.84)       (16.68)
                         BTVA      126.7            60.8          65.9         2.29       0.03
                                  (25.96)         (12.48)        (28.8)
              Post-Strikeforce      54.1            50.7          3.3          0.18       0.86
                                   (8.23)         (16.73)       (18.65)
                       Current      20.2            40.8         -20.6         -1.01      0.32
                                   (2.58)         (20.21)       (20.37)

Moving Violations
              Pre-Strikeforce        5.2             9.2             -4.0        -1.67       0.11
                                    (.91)          (2.19)          (2.37)
                   Strikeforce      12.3            10.3             2.0          0.58       0.57
                                   (2.55)          (2.27)          (3.42)
                        BTVA        19.0            13.0             6.0          1.22       0.23
                                   (3.32)           (3.6)           (4.9)
              Post-Strikeforce      14.1            17.0             -2.9        -0.39       0.70
                                   (1.68)          (7.36)          (7.55)
                      Current        6.4            12.7             -6.3        -0.93       0.36
                                    (.71)          (6.75)          (6.79)

Non-moving Violations
             Pre-Strikeforce          12.7            17.7             -5.0         -1.58      0.13
                                     (1.92)          (2.56)           (3.2)
                    Strikeforce       65.6            28.9            36.7          2.66       0.01
                                    (13.19)          (3.98)         (13.78)
                          BTVA       107.8            47.8            60.0          2.42       0.02
                                     (22.7)          (9.98)          (24.8)
               Post-Strikeforce       39.8            32.6             7.2          0.62       0.54
                                     (6.68)          (9.51)         (11.62)
                        Current       13.7            27.1           -13.4          -1.00      0.33
                                     (2.04)         (13.25)         (13.41)
Includes only census tracts in top third of violent crime incident distribution for the 12 months
prior to Strikeforce. Standard errors in parentheses, all clustered by census tract to take account
of non-independence.




                                                 10
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 11 of 33




                                 11
    Case 1:18-cv-00719-CCR                  Document 224-1             Filed 08/09/24         Page 12 of 33




Table 5.1a - Difference Between Actual and Expected Total Citations per Month (Pre-Era Controls)
                                  Coefficients on Predictors of Total Monthly Citations in Low-minority Tracts (OLS)
                                   Pre-Strikeforce     Strikeforce       BTVA       Post-Strikeforce      Current
Variable                                  Era              Era            Era               Era             Era
Total Population (100s)                   0.09             0.07          -0.23          -0.53***          -0.24**
                                        (0.10)            (0.11)        (0.14)            (0.20)           (0.12)
Pre-era minor accidents (10s)          -2.19**           -2.83**         -2.36           5.62***            0.44
                                        (0.90)            (1.31)        (1.71)            (2.03)           (0.92)
Pre-era injury accidents (10s)          4.33**           4.17***         4.69*             -6.30            3.43
                                        (1.62)            (1.35)        (2.51)            (4.46)           (2.38)
Pre-era violent incidents (100s)        7.59**          10.17***       33.50***          18.61**         12.76**
                                        (2.81)            (2.69)        (7.40)            (8.50)           (6.24)
Pre-Era property incidents (100s)        -0.90             2.23          -5.29             3.32             1.53
                                        (1.78)            (1.48)        (4.15)            (4.38)           (2.11)
Constant                                  4.71             1.84         11.54*           16.83**            1.13
                                        (3.69)            (3.66)        (5.78)            (7.14)           (4.62)

Observations                                 240               1,440           1,240            1,000         1,840
R-squared                                   0.27                0.33            0.39             0.47          0.47
                                       Avg. Difference Between Actual and Predicted Monthly Citations by Tract Type
High-minority Tracts (N = 30)            -7.49***           29.38***          37.68**          10.93*       -9.28***
                                           (2.12)             (9.59)          (15.95)           (5.82)        (2.44)
Mixed-race Tracts (N = 9)                   1.25             11.56*            10.80             1.06          3.41
                                           (5.42)             (6.91)          (11.94)           (6.01)        (3.55)
Intercept (Low-Minority Tracts)             0.00               -0.00            0.00             -0.00        -0.00
                                           (1.24)             (1.19)           (1.78)           (2.11)        (1.43)
Heteroskedastic robust standard errors clustered by census tract shown in parentheses. Accidents and criminal
incidents correspond to the numbers of such incidents in the year prior to the start of each era. ***indicates
significance at 1% level, **indicates significance at 5% level, *indicates significance at 10% level.




                                                         12
     Case 1:18-cv-00719-CCR                   Document 224-1               Filed 08/09/24           Page 13 of 33



Table 5.1b - Difference Between Actual and Predicted Monthly Non-moving Citations
                                  Coeff. on Predictors of Monthly Non-moving Citations in Low-minority Tracts (OLS)
                                   Pre-Strikeforce      Strikeforce     BTVA      Post-Strikeforce      Current
Variable                                  Era                Era         Era              Era             Era
Total Population (100s)                  -0.01              0.02        -0.13         -0.30***          -0.17**
                                        (0.06)             (0.10)      (0.11)           (0.09)           (0.07)
Pre-era minor accidents (10s)          -1.67**            -2.54**       -2.27            2.59            -0.08
                                        (0.69)             (1.12)      (1.41)           (1.67)           (0.58)
Pre-era injury accidents (10s)          2.37**             3.04**      3.78*             -3.16           2.84*
                                        (1.11)             (1.13)      (2.03)           (3.06)           (1.50)
Pre-era violent incidents (100s)      8.57***             9.61***     28.26***       15.80***           11.21**
                                        (2.03)             (2.20)      (7.02)           (5.00)           (4.35)
Pre-Era property incidents (100s)        -1.72              1.08        -4.43            0.72             0.74
                                        (1.50)             (1.09)      (3.81)           (1.55)           (1.31)
Constant                                5.14*               2.25         5.64          8.08***           -1.19
                                        (2.57)             (3.37)      (4.31)           (2.92)           (2.61)

Observations                                  240              1,440            1,240           1,000             1,840
R-squared                                     0.31              0.29             0.39            0.50              0.49
                                             Avg. Diff. Between Actual and Predicted Monthly Non-moving Citations
High-minority Tracts (N = 30)              -4.74***          27.12***         35.01**          10.41**          -6.38***
                                             (1.38)            (8.09)          (13.99)          (4.39)            (1.81)
Mixed-race Tracts (N = 9)                    -0.44             9.25*            10.82            3.35              2.18
                                             (3.04)            (5.18)          (10.61)          (3.73)            (1.75)
Intercept (Low-Minority Tracts)              -0.00              0.00             0.00            0.00              0.00
                                             (0.84)            (0.99)           (1.49)          (1.08)            (0.81)
Heteroskedastic robust standard errors clustered by census tract shown in parentheses. Accidents and criminal
incidents correspond to the numbers of such incidents in the year prior to the start of each era. ***indicates
significance at 1% level, **indicates significance at 5% level, *indicates significance at 10% level. Non-moving violation
citations include citations for equipment infractions (e.g., tinted windows, obscured view, seatblelt/childseat
infractions, worn tires, broken lights), license/registration infractions, insurance infractions, and inspection infractions.




                                                             13
     Case 1:18-cv-00719-CCR                    Document 224-1               Filed 08/09/24           Page 14 of 33



Table 5.1c - Difference Between Actual and Predicted Monthly Moving Citations
                                    Coeff. on Predictors of Monthly Moving Citations in Low-minority Tracts (OLS)
                                   Pre-Strikeforce     Strikeforce      BTVA       Post-Strikeforce     Current
Variable                                 Era                Era          Era               Era             Era
Total Population (100s)                  0.10               0.05        -0.08             -0.10           -0.03
                                        (0.07)            (0.03)       (0.05)            (0.09)          (0.06)
Pre-era minor accidents (10s)           -0.52              -0.27        -0.44          1.91***             0.51
                                        (0.39)            (0.28)       (0.35)            (0.53)          (0.35)
Pre-era injury accidents (10s)         1.97**            1.12***       1.18*              -1.00            0.47
                                        (0.85)            (0.36)       (0.59)            (1.37)          (0.96)
Pre-era violent incidents (100s)        -1.05               0.47      5.19***             0.79             1.36
                                        (1.50)            (0.90)       (1.54)            (3.77)          (2.13)
Pre-Era property incidents (100s)        0.87             1.21**        -0.17             2.85             0.89
                                        (0.76)            (0.52)       (0.73)            (3.71)          (0.85)
Constant                                -0.52              -0.56       4.19**             2.98             0.52
                                        (2.38)            (0.93)       (1.84)            (3.19)          (2.49)

Observations                                 240               1,440           1,240             1,000              1,840
R-squared                                   0.16                0.27            0.17              0.28               0.27
                                              Avg. Diff. Between Actual and Predicted Monthly Moving Citations
High-minority Tracts (N = 30)             -2.69**               2.42            2.60              1.53             -1.87**
                                           (1.05)             (1.64)           (2.08)            (1.53)             (0.93)
Mixed-race Tracts (N = 9)                   1.82                2.48            0.24              -0.18              1.08
                                           (2.90)             (1.82)           (1.81)            (2.81)             (1.48)
Intercept (Low-Minority Tracts)             0.00                0.00            0.00              0.00              -0.00
                                           (0.66)             (0.35)           (0.48)            (1.04)             (0.70)
incidents correspond to the numbers of such incidents in the year prior to the start of each era. ***indicates
significance at 1% level, **indicates significance at 5% level, *indicates significance at 10% level. Moving violation
citations include moving violations (e.g., speeding, reckless driving, failure to stop at red light or stop sign), DUIs, and
mobile electronics infractions.




                                                             14
Case 1:18-cv-00719-CCR                   Document 224-1                Filed 08/09/24             Page 15 of 33



   Table 7.1: Propensity Score Matching Estimates of Citations
                                             Avg Cit./tract/mo
                                              High         Low                   Clustered
   Outcome Variable                Sample Minority Minority              Diff.      S.E.      t-stat      p-val
   Pre-Strikeforce (Jan 2012-June 2012)
   All Citations               Unmatched     15.37        15.19          0.18       2.50       0.07      0.941
                                 Matched     11.75        22.05         -10.31      3.60       -2.87     0.008

   Non-moving Citations        Unmatched        10.81         9.04       1.76       1.74       1.01      0.315
                                 Matched         8.25        14.88       -6.62      3.32       -1.99     0.056

   Moving Citations            Unmatched         4.61        6.14        -1.53      1.02       -1.50     0.139
                                  Matched        3.54        7.14        -3.60      1.20       -3.00     0.006
   Strikeforce (July 2012-June 2015)
   All Citations               Unmatched        59.94        18.82      41.13      10.45       3.94      0.000
                                  Matched       37.64        24.87      12.78      5.41        2.36      0.025

   Non-moving Citations        Unmatched        50.33        13.18      37.15       8.82       4.21      0.000
                                 Matched        31.34        17.89      13.44       4.76       2.83      0.009

   Moving Citations            Unmatched         9.70        5.61        4.08       1.75       2.34      0.022
                                 Matched         6.35        6.88        -0.53      0.95       -0.56     0.582
   BTVA (July 2015-Jan 2018)
   All Citations             Unmatched          97.32        29.00      68.32      17.37       3.93      0.000
                               Matched          66.92        33.76      33.17      12.64       2.62      0.014

   Non-moving Citations        Unmatched        81.95        21.29      60.66      15.16       4.00      0.000
                                 Matched        55.27        25.56      29.71      11.12       2.67      0.012

   Moving Citations           Unmatched         15.39        7.29        8.10       2.36       3.44      0.001
                                 Matched        11.63        8.00        3.63       1.97       1.84      0.076
   Post-Strikeforce (Feb 2018-Feb 2020)
   All Citations              Unmatched         45.65        27.40      18.25       6.80       2.68      0.009
                                 Matched        35.29        22.59      12.70       4.84       2.62      0.014

   Non-moving Citations        Unmatched        32.88        15.08      17.81       4.99       3.57      0.001
                                 Matched        24.61        13.49      11.12       3.56       3.13      0.004

   Moving Citations         Unmatched           12.54        10.27       2.28       2.06       1.10      0.274
                              Matched           10.46         8.04       2.41       1.77       1.37      0.183
   Current (March 2020-December 2023)
   All Citations            Unmatched           20.04        16.29       3.76       3.73       1.01      0.317
                              Matched           17.80        11.42       6.38       2.58       2.48      0.020

   Non-moving Citations        Unmatched        13.71        9.22        4.49       2.63       1.71      0.092
                                 Matched        11.92        6.13        5.78       1.96       2.95      0.006

   Moving Citations               Unmatched        6.20          6.22      -0.02       1.27      -0.02      0.99
                                     Matched       5.74          4.64      1.10        1.12       0.98      0.33
   Note: Standard errors are calculated to be robust to heteroskedasticity and clustered by census tract. Non-
   moving violations include citations for equipment infractions (e.g., tinted windows, obscured view,
   seatblelt/childseat infractions, worn tires, broken lights), license/registration infractions, insurance
   infractions, and inspection infractions. Moving-violations include citations for speeding, reckless driving,
   failure to stop at red light or stop sign, DUIs, failure to dim headlights, and mobile electronics infractions.
   High Minority refers to tracts that are 60-100 percent Black and/or Hispanic, Low Minority refers to tracts
   that are 0-40 percent Black and/or Hispanic.


                                                        15
    Case 1:18-cv-00719-CCR                  Document 224-1       Filed 08/09/24        Page 16 of 33




            Table 8.1 - Fraction of Obs with Driver Race Recorded by Era
            Era                              Tracs             OD                Tracs or OD
            Pre-Strikeforce                  0.52             0.64                  0.79
            Strikeforce                      0.57             0.69                  0.82
            BTVA                             0.60             0.68                  0.83
            Post-Strikeforce                 0.66             0.60                  0.82
            Current                          0.67             0.52                  0.79

            Overall                             0.61             0.65               0.82

Table 9.1 - Driver Race Across Sources
Sample                                            Minority              Non-Minority             Obs
1 - Valid Race (Tracs and/or OD)                   0.76                     0.24               322,123

                                                Tracs Minority     Tracs Non-minority
2 - Valid Tracs Race (w/ or w/out OD Race)           0.76                 0.24                 243,281

3 - Valid Tracs Race (w/ valid OD Race)             0.84                    0.16               173,560

4 - Valid Tracs Race (w/out valid OD Race)          0.57                    0.43               69,721

                                                 OD Minority        OD Non-minority
5 - Valid Tracs Race (w/ valid OD Race)             0.85                 0.15                  174,560

6 - Tracs Race Missing (w/ valid OD Race)           0.75                    0.25               78,842

Obs with Tracs and OD Race Missing                     -                     -                 71,456




                                                       16
Case 1:18-cv-00719-CCR        Document 224-1         Filed 08/09/24        Page 17 of 33




       Table 10.1 - Imputed Race Distribution for Drivers with Unrecorded Race
                                                 Percent Minority
                                                   Moving       Non-moving
                                    All Citations Violations     Violations
       Citywide
       Race Recorded (Actual)           76.1%        64.9%         80.1%
       Race Recorded (Imputed)          76.4%        64.7%         80.4%
       Race Unrecorded (Imputed)        65.2%        52.7%         70.7%

       High-Minority Tracts
       Race Recorded (Actual)          87.2%        80.7%          88.8%
       Race Recorded (Imputed)         86.9%        80.0%          88.8%
       Race Unrecorded (Imputed)       79.7%        70.2%          82.9%

       Mixed-race Tracts
       Race Recorded (Actual)          65.2%        57.8%          68.0%
       Race Recorded (Imputed)         65.9%        57.7%          68.8%
       Race Unrecorded (Imputed)       60.3%        53.0%          63.4%

       Low-Minority Tracts
       Race Recorded (Actual)             57.7%        47.5%        63.7%
       Race Recorded (Imputed)            59.0%        47.9%        64.4%
       Race Unrecorded (Imputed)          51.1%        40.9%        55.6%
       *This table only reflects citations were could be mapped to a census
       tract within the city of Buffalo.


                Fig 7.1a: Avg. Monthly Citations Citywide
                              by Driver Race
      3000
      2500
      2000
      1500
                                                             Minority Drivers
      1000
                                                             Non-Minority Drivers
       500
                                                             Driver Race Unrecord.
        0




                                         17
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24      Page 18 of 33




               Fig 7.1b: Avg. Monthly Moving Citations
                            by Driver Race
      500
      450
      400
      350
      300
      250
      200                                         Minority Drivers
      150
                                                  Non-Minority Drivers
      100
       50                                         Driver Race Unrecod.
        0




             Fig 7.1c: Avg. Monthly Non-moving Citations
                             by Driver Race
      3000
      2500
      2000
      1500
                                                 Minority Drivers
      1000
                                                 Non-Minority Drivers
       500
                                                 Driver Race Unrecord.
        0




                                 18
Case 1:18-cv-00719-CCR   Document 224-1    Filed 08/09/24       Page 19 of 33




               Fig 8.1a: Avg Monthly Citations Per Tract
                             By Driver Race
                         (High-Minority Tracts)
      80
      70
      60
      50
      40
      30                                         Minority Drivers
      20                                         Non-Minority Drivers
      10
       0                                         Driver Race Unrecorded




             Fig 8.1b: Avg Monthly Moving Vio. Per Tract
                            By Driver Race
                        (High-Minority Tracts)
      12
      10
       8
       6
                                                 Minority Drivers
       4
       2                                         Non-Minority Drivers
       0                                         Driver Race Unrecorded




                                  19
Case 1:18-cv-00719-CCR   Document 224-1    Filed 08/09/24       Page 20 of 33




             Fig 8.1c: Avg Monthly Non-Mov Vio. Per Tract
                             By Driver Race
                         (High-Minority Tracts)
      70
      60
      50
      40
      30                                         Minority Drivers
      20
                                                 Non-Minority Drivers
      10
       0                                         Driver Race Unrecorded




               Fig 9.1a: Avg Monthly Citations Per Tract
                             By Driver Race
                          (Mixed-Race Tracts)
      30
      25
      20
      15
                                                 Minority Drivers
      10
       5                                         Non-Minority Drivers
       0                                         Driver Race Unrecorded




                                  20
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24       Page 21 of 33




             Fig 9.1b: Avg Monthly Moving Vio. Per Tract
                            By Driver Race
                         (Mixed-Race Tracts)
        5
      4.5
        4
      3.5
        3
      2.5
        2                                       Minority Drivers
      1.5
        1                                       Non-Minority Drivers
      0.5
        0                                       Driver Race Unrecorded




             Fig 9.1c: Avg Monthly Non-Mov Vio. Per Tract
                             By Driver Race
                           (Mixed-Race Tracts)
      25
      20
      15
      10                                        Minority Drivers
       5                                        Non-Minority Drivers
       0                                        Driver Race Unrecorded




                                 21
Case 1:18-cv-00719-CCR   Document 224-1    Filed 08/09/24       Page 22 of 33




              Fig 10.1a: Avg Monthly Citations Per Tract
                            By Driver Race
                         (Low-Minority Tracts)
      14
      12
      10
       8
       6                                         Minority Drivers
       4
                                                 Non-Minority Drivers
       2
       0                                         Driver Race Unrecorded




             Fig 10.1b: Avg Monthly Moving Vio. Per Tract
                            By Driver Race
                         (Low-Minority Tracts)
        4
      3.5
        3
      2.5
        2
      1.5                                        Minority Drivers
        1                                        Non-Minority Drivers
      0.5
        0                                        Driver Race Unrecorded




                                 22
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24       Page 23 of 33




            Fig 10.1c: Avg Monthly Non-mov Vio. Per Tract
                            By Driver Race
                         (Low-Minority Tracts)
      12
      10
       8
       6
                                                Minority Drivers
       4
       2                                        Non-Minority Drivers
       0                                        Driver Race Unrecorded




                                 23
   Case 1:18-cv-00719-CCR            Document 224-1        Filed 08/09/24     Page 24 of 33




Table 11.1 - Population Adjusted Monthly Ticketing Rates by Race, Avg within Tracts
                        Pop. Adj. Monthly Ticketing Rates                                Min. to
                          (Within Tract Pop. Wgt. Avg.)                                 Non-Min.
Era                        Minorities     Non-Minorities    Diff      t-stat     pval     Ratio

All Citations
Pre-Strikeforce              0.95             0.40          0.55       5.1      0.000      2.4
                            (0.11)           (0.04)        (0.11)
Strikeforce                  1.69             0.96          0.73       5.0      0.000      1.8
                            (0.17)           (0.16)        (0.15)
BTVA                         2.50             1.81          0.69       2.8      0.007      1.4
                            (0.25)           (0.37)        (0.25)
Post-Strikeforce             1.74             0.99          0.75       4.2      0.000      1.8
                            (0.18)           (0.15)        (0.18)
Current                      1.00             0.43          0.57       4.5      0.000      2.3
                            (0.13)           (0.06)        (0.13)
Moving Violations
Pre-Strikeforce              0.30             0.17          0.12       3.5      0.001      1.7
                            (0.04)           (0.02)        (0.04)
Strikeforce                  0.33             0.25          0.08       2.9      0.006      1.3
                            (0.03)           (0.04)        (0.03)
BTVA                         0.44             0.40          0.05       0.9      0.371      1.1
                            (0.04)           (0.06)        (0.05)
Post-Strikeforce             0.50             0.39          0.12       2.0      0.054      1.3
                            (0.05)           (0.05)        (0.06)
Current                      0.32             0.20          0.12       2.7      0.010      1.6
                            (0.04)           (0.03)        (0.05)
Non-Moving Violations
Pre-Strikeforce               0.65                0.23           0.42    5.3       0.000      2.9
                             (0.09)              (0.02)         (0.08)
Strikeforce                   1.36                0.71           0.65    5.2       0.000      1.9
                             (0.15)              (0.13)         (0.12)
BTVA                          2.04                1.40           0.64    3.1       0.003      1.5
                             (0.22)              (0.31)         (0.21)
Post-Strikeforce              1.15                0.57           0.58    5.6       0.000      2.0
                             (0.11)               (0.1)          (0.1)
Current                       0.65                0.21           0.44    5.0       0.000      3.0
                             (0.09)              (0.03)         (0.09)
*Standard errors in parentheses, adjusted for multiple observations per tract in eras with more
than one six-month period. See text regarding how tickets issued to driver's with unrecorded race
were allocated across race groups. For each racial group r, Population Adjusted Ticketing Rates
measure the average number of tickets issued to members of racial group r per month in each tract
per hundred people of race r in that tract (see text for details).




                                               24
     Case 1:18-cv-00719-CCR                     Document 224-1               Filed 08/09/24           Page 25 of 33



Table 12.1 - Decomposition of Racial Differences in Population Adjusted Ticketing Rates, Within vs Across Tract Disparities
                                                                                                            % of Overall Racial
                                                                                                          Disparity in Ticketing
                      Population Adjusted                         Population Adjusted                         Rates Due to
                    Monthly Ticketing Rates                      Monthly Ticketing Rates     Within        Within       Across
                            (Citywide)            Citywide (Within Tract Pop. Wgt. Avg.) Tracts             Tract        Tract
Era                Minorities Non-Minorities Ratio              Minorities Non-Minorities Ratio          Disparities Disparities

All Citations
Pre-Strikeforce        0.64           0.33          1.9            0.95           0.40         2.4         148%         -48%

Strikeforce            1.77           0.50          3.6            1.69           0.96         1.8          30%         70%

BTVA                   2.80           0.78          3.6            2.50           1.81         1.4          15%         85%

Post-Strikeforce       1.57           0.61          2.6            1.74           0.99         1.8          48%         52%

Current                0.81           0.29          2.8            1.00           0.43         2.3          74%         26%

Moving Violations
Pre-Strikeforce        0.20           0.15          1.3            0.30           0.17         1.7         223%        -123%

Strikeforce            0.30           0.16          1.9            0.33           0.25         1.3          37%         63%

BTVA                   0.44           0.21          2.0            0.44           0.40         1.1          11%         89%

Post-Strikeforce       0.43           0.26          1.6            0.50           0.39         1.3          48%         52%

Current                0.24           0.13          1.8            0.32           0.20         1.6          72%         28%

Non-Moving Violations
Pre-Strikeforce       0.44            0.18          2.4            0.65           0.23         2.9         131%         -31%

Strikeforce            1.47           0.34          4.3            1.36           0.71         1.9          27%         73%

BTVA                   2.36           0.56          4.2            2.04           1.40         1.5          14%         86%

Post-Strikeforce       1.11           0.31          3.6            1.15           0.57         2.0          61%         39%

Current                0.55           0.14          4.0            0.65           0.21         3.0          67%         33%


*See text regarding how tickets issued to driver's with unrecorded race were allocated across race groups. For each racial group
r, Population Adjusted Ticketing Rates measure the average number of tickets issued to members of racial group r per six months
in each tract per hundred people of race r in that tract (see text for details).




                                                              25
Case 1:18-cv-00719-CCR     Document 224-1     Filed 08/09/24      Page 26 of 33




             Fig. 11.1 - Percent Difference in Minority to Non-
                Minority Pop. Adjusted Mo. Ticketing Rates
                  (Within and Across Tract Contributions)
      300%

      250%

      200%

      150%

      100%                                                     Across Tract

       50%                                                     Within Tract

       0%

      -50%

     -100%




              Fig. 12.1 - Fraction of Incidents with Multiple
                          Citations by Driver Race
      0.7
      0.6
      0.5
      0.4
      0.3                                              Minority Driver
      0.2
                                                       Non-Minority Driver
      0.1
                                                       Race Unrecorded
       0




                                    26
     Case 1:18-cv-00719-CCR                     Document 224-1               Filed 08/09/24            Page 27 of 33



Table 13.1 - Difference Between Actual and Predicted Likelihood of Multiple Citations within Incident
                                              Coeff. On Predictors of Multiple Citations for Non-minority Drivers (Probit)
                                    Pre-Strikeforce       Strikeforce           BTVA          Post-Strikeforce        Current
Variable                                     Era               Era               Era                 Era                Era
Age                                        -0.004          -0.004***         -0.007***             -0.002           -0.004***
                                          (0.003)            (0.001)           (0.001)             (0.001)            (0.001)
12PM-6PM                                 0.293**           0.329***           0.463***           0.303***            0.289***
                                          (0.131)            (0.057)           (0.077)             (0.071)            (0.052)
6PM-12AM                                 0.525***          0.472***           0.616***           0.594***            0.387***
                                          (0.119)            (0.061)           (0.091)             (0.094)            (0.082)
12AM-6AM                                 0.638***          0.532***           0.405***           0.530***            0.626***
                                          (0.144)            (0.067)           (0.092)             (0.103)            (0.089)
Constant                                -0.790***          -0.558***         -0.393***           -0.637***          -0.608***
                                          (0.149)            (0.064)           (0.081)             (0.093)            (0.089)

Observations                               1,441          11,129             11,567              8,655               7,886
                                                     Mean Difference Between Actual and Predicted Likelihood
                                                                of Multiple Citations w/in Incident
Minority Drivers                         0.12***         0.17***            0.19***             0.14***             0.17***
                                         (0.015)          (0.008)            (0.012)            (0.015)             (0.014)
Driver Race Unrecorded                    -0.023           0.002            0.034***             0.007             0.069***
                                         (0.019)          (0.008)            (0.011)            (0.015)             (0.015)
Intercept (Non-minority Drivers)          0.000            0.000              0.000              0.000               0.000
                                         (0.013)          (0.010)            (0.018)            (0.017)             (0.017)
*"Excluded" Comparison Time Category 6AM-12PM. All standard errors are heteroskedasticity robust and clustered by census
tract. ***indicates significance at 1% level, **indicates significance at 5% level, *indicates significance at 10% level.




                                                              27
Case 1:18-cv-00719-CCR   Document 224-1   Filed 08/09/24   Page 28 of 33




                                 28
     Case 1:18-cv-00719-CCR                      Document 224-1            Filed 08/09/24           Page 29 of 33




Table 14.1 - Difference Between Actual and Expected Likelihood of Multiple Tinted Window Citations within Tinted Window
Incidents
                                    Coeff. On Predictors of Multiple Tinted Window Citations for Non-minority Drivers (Probit)
                                     Pre-Strikeforce     Strikeforce           BTVA       Post-Strikeforce       Current
Variable                                    Era              Era                Era               Era               Era
Age                                        0.012           -0.002             -0.005             0.011            -0.007
                                          (0.014)          (0.004)           (0.003)            (0.009)           (0.008)
12PM-6PM                                 3.719***           0.246           0.939***          1.280***          1.170***
                                          (0.357)          (0.190)           (0.123)            (0.382)           (0.398)
6PM-12AM                                 4.296***          -0.044           0.885***          1.403***          1.345***
                                          (0.166)          (0.218)           (0.145)            (0.396)           (0.407)
12AM-6AM                                 4.122***          -0.106             -0.280             0.638          1.593***
                                          (0.585)          (0.285)           (0.347)            (0.542)           (0.447)
Constant                                -5.334***           0.035             0.138           -1.251***         -1.087***
                                          (0.383)          (0.193)           (0.147)            (0.452)           (0.409)

Observations                               105             1,404            928                277                191
                                               Mean Difference Between Actual and Predicted Likelihood of Multiple
                                                     Tinted Window Citations w/in Tinted Window Incidents
Minority Drivers                          0.07*           0.12***         0.09***            0.10***             -0.01
                                         (0.042)          (0.026)         (0.017)            (0.036)            (0.035)
Driver Race Unrecorded                     0.03           0.07***          0.04**            0.12***             -0.09
                                         (0.055)          (0.025)         (0.016)            (0.039)            (0.049)
Intercept (Non-minority Drivers)           0.00             0.00            0.00               0.00               0.00
                                         (0.035)          (0.031)         (0.019)            (0.034)            (0.033)
*"Excluded" Comparison Time Category 6AM-12PM. All standard errors are heteroskedasticity robust and clustered by census
tract. ***indicates significance at 1% level, **indicates significance at 5% level, *indicates significance at 10% level.




                                                             29
Case 1:18-cv-00719-CCR         Document 224-1         Filed 08/09/24       Page 30 of 33




      Table 15.1 - Stop Receipts by District (6/23/2020 - 7/10/2024)
      District        Num of Stops % of stops        % Minority     % of City Pop
      A                  1,325            8%             17%            16%
      D                  4,115           24%             31%            29%
      B                  3,275           19%             50%            17%
      C                  4,001           23%             59%            14%
      E                  4,564           26%             73%            23%

            Table 16.1 - Summary of Stop Receipts (6/23/2020 - 7/10/2024)
                                                Number      Frac. Missing
            Reason For Stop                     of Stops        Race
            Equipment                             6,258          0.21
            Stoplight/Stop Sign Violation         3,739          0.26
            Registration/Insurance                2,680          0.20
            Speeding                              1,578          0.20
            Failure to use Turn Signal            1,344          0.22
            Erratic/Reckless/Ilegal driving       1,218          0.22
            Invest./Stolen/Warrant/Acc.            208           0.12
            Illegal Parking/Stopped                156           0.20
            Suspicion/Suspected/Drugs              154           0.13
            Cell Phone/Texting                     107           0.29
            Seatbelt/Childseat                      93           0.37
            Driving during Ban                      43           0.35
            Littering                               11           0.09
            Various Other                           38           0.21

            No Reason Given                         424            0.22
            Total                                  18,051          0.22




                                          30
     Case 1:18-cv-00719-CCR                      Document 224-1                 Filed 08/09/24            Page 31 of 33




                         UPDATED VERSIONS OF ADDITIONAL ANALYSES
Table A1.1a - Difference Between Actual and Expected Total Citations per Month (Pre-Strikeforce Controls)
                                           Coefficients on Predictors of Total Monthly Citations in Low-minority Tracts (OLS)
                                       Pre-Strikeforce      Strikeforce           BTVA        Post-Strikeforce       Current
Variable                                     Era                Era                Era                Era              Era
Total Population (100s)                      0.06               0.05              -0.12             -0.34*           -0.30**
                                            (0.10)             (0.11)            (0.20)             (0.20)            (0.12)
Pre-Strikeforce minor accidents (10s)       -1.44             -2.09**             -1.35              0.63              0.60
                                            (0.89)             (0.91)            (1.92)             (1.92)            (1.26)
Pre-Strikeforce injury accidents (10s)       2.43             3.89***              2.20              2.62              1.47
                                            (1.48)             (1.25)            (2.06)             (3.43)            (1.93)
Pre-Strikeforce vio. incidents (100s)      6.54**            10.50***           20.47***           11.76**          14.09***
                                            (2.59)             (2.66)            (5.43)             (5.78)            (4.72)
Pre-Strikeforce prop. incidents (100s)       1.17               1.93               0.53              1.33              1.08
                                            (1.42)             (1.30)            (2.09)             (3.09)            (1.62)
Constant                                     4.95               2.63             12.28*              15.96             4.50
                                            (3.78)             (3.77)            (7.03)             (9.55)            (4.34)

Observations                                   240                1,440            1,240            1,000                1,840
R-squared                                      0.24                0.33             0.32             0.37                 0.46
                                               Avg. Difference Between Actual and Predicted Monthly Citations by Tract Type
High-minority Tracts (N = 30)               -6.82***            29.79***         51.61***            6.62              -8.37***
                                              (2.04)              (9.62)          (16.19)           (5.59)               (2.55)
Mixed-race Tracts (N = 9)                      2.27              11.74*            13.08             2.14                 0.48
                                              (5.09)              (6.97)          (12.46)           (5.59)               (3.75)
Intercept (Low-Minority Tracts)                0.00                0.00            -0.00             0.00                 0.00
                                              (1.30)              (1.19)           (2.19)           (2.61)               (1.46)
Heteroskedastic robust standard errors clustered by census tract shown in parentheses. Accidents and criminal incidents
correspond to the numbers of such incidents in the year prior to the start of Strikeforce. ***indicates significance at 1% level,
**indicates significance at 5% level, *indicates significance at 10% level.




                                                                 31
     Case 1:18-cv-00719-CCR                      Document 224-1                 Filed 08/09/24            Page 32 of 33



Table A1.1b - Difference Between Actual and Predicted Monthly Non-moving Citations
                                         Coefficients on Predictors of Non-Moving Cit. per 6-mo. in Low-minority Tracts (OLS)
                                       Pre-Strikeforce     Strikeforce         BTVA          Post-Strikeforce       Current
Variable                                     Era               Era              Era                 Era               Era
Total Population (100s)                     -0.01              0.01            -0.02              -0.20*           -0.22***
                                           (0.07)             (0.10)           (0.18)             (0.10)             (0.07)
Pre-Strikeforce minor accidents (10s)      -1.28*            -1.70**           -1.30               0.11               0.16
                                           (0.67)             (0.79)           (1.68)             (0.99)             (0.81)
Pre-Strikeforce injury accidents (10s)       1.41            2.55**             1.87               0.82               0.86
                                           (1.04)             (1.05)           (1.75)             (1.50)             (1.10)
Pre-Strikeforce vio. incidents (100s)     6.94***           9.72***          16.24***           10.72***           10.79***
                                           (1.79)             (2.26)           (4.84)             (3.32)             (3.15)
Pre-Strikeforce prop. incidents (100s)      -0.04              0.77             0.61               0.29               0.83
                                           (0.96)             (1.01)           (1.83)             (1.41)             (0.91)
Constant                                    4.73*              2.93             5.87               8.09*              1.47
                                           (2.74)             (3.45)           (5.68)             (4.23)             (2.49)

Observations                                   240                1,440              1,240              1,000              1,840
R-squared                                      0.27                0.29               0.31              0.42                0.48
                                                   Avg. Diff. Between Actual and Predicted Monthly Non-moving Citations
High-minority Tracts (N = 30)               -4.36***            27.85***          47.37***             9.09**             -4.57**
                                              (1.40)              (8.15)           (14.23)             (4.28)              (1.91)
Mixed-race Tracts (N = 9)                      0.86               9.49*              13.27              3.35                0.32
                                              (2.88)              (5.26)           (11.06)             (3.70)              (2.12)
Intercept (Low-Minority Tracts)                0.00                0.00              -0.00              0.00                -0.00
                                              (0.89)              (1.00)             (1.85)            (1.35)              (0.87)
Heteroskedastic robust standard errors clustered by census tract shown in parentheses. Accidents and criminal incidents
correspond to the numbers of such incidents in the year prior to the start of Strikeforce. ***indicates significance at 1% level,
**indicates significance at 5% level, *indicates significance at 10% level. Non-moving violation citations include citations for
equipment infractions (e.g., tinted windows, obscured view, seatblelt/childseat infractions, worn tires, broken lights),
license/registration infractions, insurance infractions, and inspection infractions.




                                                                 32
     Case 1:18-cv-00719-CCR                       Document 224-1                 Filed 08/09/24             Page 33 of 33



Table A1.1c - Difference Between Actual and Predicted Monthly Moving Citations
                                             Coeff. on Predictors of Monthly Moving Citations in Low-minority Tracts (OLS)
                                       Pre-Strikeforce      Strikeforce         BTVA         Post-Strikeforce       Current
Variable                                     Era                 Era             Era                 Era               Era
Total Population (100s)                      0.07               0.05            -0.08               -0.05             -0.05
                                           (0.07)              (0.03)          (0.05)              (0.10)            (0.07)
Pre-Strikeforce minor accidents (10s)       -0.17             -0.39*            -0.28               0.04              0.28
                                           (0.44)              (0.23)          (0.32)              (0.98)            (0.50)
Pre-Strikeforce injury accidents (10s)       1.04            1.34***             0.65               2.22              0.69
                                           (0.87)              (0.36)          (0.53)              (1.81)            (0.81)
Pre-Strikeforce vio. incidents (100s)       -0.45               0.70          4.30***               1.91             3.22*
                                           (1.52)              (0.89)          (1.02)              (2.80)            (1.81)
Pre-Strikeforce prop. incidents (100s)       1.25            1.22***             0.21               1.25              0.49
                                           (0.86)              (0.43)          (0.58)              (2.22)            (0.74)
Constant                                     0.12               -0.45          4.83**               2.52              1.18
                                           (2.34)              (0.95)          (1.92)              (4.15)            (2.59)

Observations                                  240                  1,440             1,240               1,000             1,840
R-squared                                     0.13                  0.27              0.15                0.23              0.27
                                                      Avg. Diff. Between Actual and Predicted Monthly Moving Citations
High-minority Tracts (N = 30)                -2.41**                2.09            4.29**                -1.49          -3.13***
                                               (0.94)              (1.63)            (2.07)              (1.58)            (0.93)
Mixed-race Tracts (N = 9)                       1.52                2.42              0.22                -0.16             -0.04
                                               (2.77)              (1.79)            (1.93)              (2.13)            (1.32)
Intercept (Low-Minority Tracts)                 0.00                0.00             -0.00                0.00              0.00
                                               (0.68)              (0.35)            (0.52)              (1.15)            (0.70)
Heteroskedastic robust standard errors clustered by census tract shown in parentheses. Accidents and criminal incidents
correspond to the numbers of such incidents in the year prior to the start of Strikeforce. ***indicates significance at 1% level,
**indicates significance at 5% level, *indicates significance at 10% level. Moving violation citations include moving violations (e.g.,
speeding, reckless driving, failure to stop at red light or stop sign), DUIs, and mobile electronics infractions.




                                                                  33
